                    Case No. 1:18-cv-00879-WJM-MEH Document 13-1 filed 05/31/18 USDC Colorado pg 1 of
                                                          1

                                                 Appendix A - Comparison of ’752 Patent and ’369 Patent


               Claim 6 of ’752 Patent1                                  Claim 6 of ’369 Patent2                           Claim 6 of ’752 to Claim 6 of ’369
    What is claimed is:                                      What is claimed is:                                      What is claimed is:
    1. A method comprising:                                  1. A method comprising:                                  1. A method comprising:
    capturing a digital image using a digital image          capturing a digital image using a digital image          capturing a digital image using a digital image
    capturing device that is part of a portable electronic   capturing device that is part of a portable electronic   capturing device that is part of a portable electronic
    device;                                                  device;                                                  device;
    detecting symbology associated with an object            detecting symbology associated with the digital          detecting symbology associated with an object
    within the digital image using a portable electronic     image using a portable electronic device;                within the digital image using a portable electronic
    device;                                                                                                           device;
    decoding the symbology to obtain a decode string         decoding the symbology to obtain a decode string         decoding the symbology to obtain a decode string
    using one or more visual detection applications          using one or more visual detection applications          using one or more visual detection applications
    residing on the portable electronic device;              residing on the portable electronic device;              residing on the portable electronic device;
    sending the decode string to a remote server for         sending the decode string to a remote server for         sending the decode string to a remote server for
    processing;                                              processing;                                              processing;
    receiving information about the object from the          receiving information about the digital image from       receiving information about the objectdigital
    remote server wherein the information is based on        the remote server wherein the information is based       image from the remote server wherein the
    the decode string of the object;                         on the decode string;                                    information is based on the decode string of the
                                                                                                                      object;
    displaying the information on a display device           displaying the information on a display device           displaying the information on a display device
    associated with the portable electronic device.          associated with the portable electronic device.          associated with the portable electronic device.
    5. The method of claim 1, wherein the one or more        5. The method of claim 1, wherein the one or more        5. The method of claim 1, wherein the one or more
    visual detection systems are configured to               visual detection systems are configured to               visual detection systems are configured to
    automatically detect the symbology.                      automatically detect the symbology                       automatically detect the symbology

    6. The method of claim 5, further comprising:            6. The method of claim 5, further comprising:            6. The method of claim 5, further comprising:
    alerting the user when an image containing               alerting the user when an image containing               alerting the user when an image containing
    symbology has been detected;                             symbology has been detected;                             symbology has been detected;
    asking the user if decoding of the symbology is          asking the user if decoding of the symbology is          asking the user if decoding of the symbology is
    desired; and                                             desired; and                                             desired; and
    receiving a reply from the user.                         receiving a reply from the user.                         receiving a reply from the user.




1
       Dkt. 1-1, at 13:38-52 (Claim 1), 14:5-7 (Claim 5), and 14:8-13 (Claim 6).
2
       Dkt. 1-2, at 13:47-61 (Claim 1), 14:14-16 (Claim 5), and 14:17-22 (Claim 6).
